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03 MDL 1570 [RCC)
In re Terrorist Attacks on Scptcmbcr l l, 2001 ECF Case

 

 

 

This document relates to .' Woria’ Traa'e Center Propert‘ies LLC, et ai., v. At' Baraka Investment &
Development Corp,, et ai., i.'OgCI/' 7280

This document is filed on behalf of those piaintijj".s' in the above-referenced case seeking damages
for losses sufered by plaintiffs as a result of the September l i, 2001 Attack. Those Plaintifj% are
identified in Exhibit A attached hereto
DEFAULT .]UDGMENT

'l`his action having been commenced on Septembcr 10, 2004 by the filing of the
Summons and Complaint; defendants listed in Exhibit B were served with a copy of the
complaint and summons in the manner describcd, proofs of such service thereof were filed on the
dates identified in Exhibit B, the defendants not having answered the complaint, and the time for
answering the complaint having expired, it is

ORDERED, ADJUDGED AND DECREED: That the Plaintif`fs identified in Exhibit A
as seeking damages for losses, havejudgment against the defendants listed in Exhibit B, and

shall be entitled to a hearing before this Court to establish the aggregate value of the P|aintiffs’

damages

'b

Dated: New York, New York
May_s,.zooa w

/m/l ll- U.S.D.J.

 

This document was entered on the docket on

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